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                        UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA
United States of America,                      ) Criminal No. 21-CR-306 (APM)
                                               )
                       Plaintiff,              )
                                               )
vs.                                            )
                                               )
Jon Ryan Schaffer,                             )
                                               )
                      Defendant.               )
                                               )
                                    JOINT STATUS REPORT
       Defendant, Jon Schaffer, by and through undersigned counsel, hereby submits this
interim status report pursuant to the Court’s Order. The parties state as follows;
       On April 16, 2021, the Defendant pled guilty to an Information charging him with
one count of Obstruction of an Official Proceeding in violation of Title 18, United States
Code, Section 1512(c)(2), and one count of Entering and Remaining in a Restricted
Building or Grounds with a Deadly or Dangerous Weapon in violation of Title 18, United
States Code, Section 1752(a)(1), (b)(1)(A).
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       The Defendant Remains on release under the supervision of the District of
Columbia Pre-Trial Services Department. He has remained compliant with pre-trial
release conditions. The Defendant’s cooperation plea agreement was the first plea of the
several hundred Capitol Riot cases and has involved cooperation in the largest conspiracy
arising out of the incident that has been indicted to date. See United States v. Thomas
Caldwell, et. Al. 21-CR-28 (APM). He has remained cooperative with law enforcement
since his release, and his cooperation is ongoing.
       Undersigned counsel has discussed this Joint Status Report with counsel for the
government, Kathryn L Rakoczy, Esq., who is in agreement.
       Accordingly, undersigned counsel requests to file a joint status update on or about
June 9, 2023.




                                   RESPECTFULLY SUBMITTED March 24, 2023.
                                          ATTORNEYS FOR FREEDOM LAW FIRM


                                   By:    /s/ Andrew C. Marcantel, Esq.
                                          Andrew C. Marcantel, Esq.
                                          Attorney for Defendant
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By: /s/ Sierra Long
